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Luis N. Colon
Hon. Robert A. Sackett
         of counsel
                                        November 3, 2020

The Honorable Ronnie Abrams                                                    Application granted.
United States District Judge                                                   SO ORDERED.
Thurgood Marshall
United States Courthouse
40 Foley Square                                                                _____________________
New York, NY 10007                                                             Ronnie Abrams, U.S.D.J.
-Via ECF-                                                                      November 5, 2020


                                                      Re:    USA v. Albert Jimenez-Gonzalez
                                                             19 Cr 295 (RA)

                       REQUEST FOR RETURN OF TRAVEL DOCUMENT

Dear Judge Abrams,

         Our office represented Mr. Albert Jimenez-Gonzalez in the above referenced matter.

       On August 9, 2019, Your Honor sentenced the above-named defendant to twenty-four
(24) months of imprisonment, and five (5) years of Supervised Release.

       Mr. Albert Jimenez-Gonzalez completed his time of imprisonment and is currently under
Supervised Release.

       Mr. Jimenez-Gonzalez respectfully requests the return of his travel document, his U.S.
Passport, which is in the custody of the U.S. Pretrial Services Office.

         Thank you for your consideration to this matter.

                                                     Respectfully submitted,

                                                     /S/Telesforo Del Valle Jr.
                                                     Telesforo Del Valle, Jr., Esq.
                                                     Del Valle & Associates
Cc:      A.U.S.A. Adam S. Hobson, Esq.
         U.S. Pretrial Services
